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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


Robert M. Brown,                               )
                                               )
                  Plaintiff,                   )
                                               )
v.                                             )              10-CV-2606 JTM/GLR
                                               )
The University of Kansas, et al.               )
                                               )
                  Defendant.                   )

                      ANSWER AND AFFIRMATIVE DEFENSES OF
                DEFENDANT THE UNIVERSITY OF KANSAS SCHOOL OF LAW

         Defendant, University of Kansas School of Law, through counsel, for its answer and

affirmative defenses states:

                                           General Denial

         The University of Kansas School of Law is not a person or separate legal entity capable

of suing or being sued, and therefore denies each and every allegation contained in plaintiff’s

complaint.

                                       Affirmative Defenses

         In further answer to Plaintiff’s complaint, defendant states the following affirmative

defenses:

     A. Defendant University of Kansas School of Law is neither a person nor a other legal entity

         capable of suing or being sued.

     B. Plaintiff’s Complaint fails to state a claim on which relief can be granted.

     C. Defendant is immune from suit based on Eleventh Amendment Immunity.

     D. Defendant denies the nature and extent of the relief claimed by plaintiff.




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    E. Plaintiff’s claims fail to state or raise a substantial federal question and, as such,

          plaintiff’s claims fail as a matter of law and/or for the lack of jurisdiction.

    F. Plaintiff’s claims are barred by the lack of mutuality, mutual assent, insufficient

          consideration and/or lack of consideration.

    G. Plaintiff cannot establish a property interest in his continued enrollment in the University

          of Kansas School of Law.

    H. Plaintiff cannot establish a liberty interest that was implicated as a result of his dismissal

          from the School of Law for failure to disclose material information concerning his prior

          criminal record on his application for admission.

    I. Plaintiff’s claims fail pursuant to the doctrine of collateral estoppel.

    J. Plaintiff has failed to mitigate his damages.

    K. Plaintiff’s claims are barred by the doctrines of waiver and estoppel.

    L. Plaintiff is not entitled to a jury trial as a matter of law.

    M. Defendant reserves the right to assert such other and further defenses as may be revealed

          in the course of the litigation and discovery.

          WHEREFORE, having answered fully, defendant prays that plaintiff’s request for relief

be denied in its entirety, that judgment be entered in defendant’s favor on each and every claim

set forth in plaintiff’s Complaint, and that defendant be awarded its costs and expenses in

defending this action and such other and further relief as the Court may deem appropriate and

proper.




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                                              Respectfully submitted,

                                              By: /s Sara L. Trower

                                              Sara L. Trower, Ks. SC # 21514
                                              Associate General Counsel and Special
                                              Assistant Attorney General
                                              Room 245 Strong Hall
                                              1450 Jayhawk Blvd.
                                              Lawrence, KS 66045
                                              Tel: (785) 864-3276
                                              Fax: (785) 864-4617
                                              E-mail: strower@ku.edu

                                              Attorney for Defendant Mazza


                                 CERTIFICATE OF SERVICE

         The undersigned counsel certifies that a true and correct copy of the foregoing was served

this 21st day of December 2010, by U.S. mail, first-class postage prepaid addressed to:


Robert M. Brown
6200 W. 74th Street
Overland Park, KS 66204

                                              __/s Sara L.Trower_______
                                              Counsel for Defendant




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